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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                            EL PASO DIVISION
USA                                             §
                                                §      CRIMINAL NO:
vs.                                             §      EP:24-CR-02635(1)-KC
                                                §
(1) Xaiofei Chen                                §

      ORDER RESETTING STATUS CONFERENCE (DEFENDANT
                         NEEDED)
         IT IS HEREBY ORDERED that the above entitled and numbered case is reset for
STATUS CONFERENCE (DEFENDANT NEEDED) in District Courtroom, Room 522, on
the 5th Floor of the United States Courthouse, 525 Magoffin Avenue, El Paso, TX, on
Thursday, February 27, 2025 at 10:30 AM.

       IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order to
counsel for defendant, the United States Attorney, United States Pretrial Services and the United
States Probation Office. Counsel for the defendant shall notify the defendant of this setting and,
if the defendant is on bond, advise the defendant to be present at this proceeding.

        IT IS SO ORDERED this 25th day of February, 2025.




                                                ______________________________
                                                KATHLEEN CARDONE
                                                UNITED STATES DISTRICT JUDGE
